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Neo Case 3:20-cv-00656-K-BN Document 25 Filed 06/29/20 Page1of5 PagelD 197

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

 

BUZZ PHOTOS, et. al

Vv. Civil Action No. 3:20-cv-00656-K

THE PEOPLE’S REPUBLIC OF CHINA, et.
al

 

 

AFFIDAVIT OF FOREIGN MAILING

 

I, the Clerk of the Court, mailed a copy of the summons, complaint and notice of suit
(with a translation of each into the official language of China) to the name and address of the
following Defendant:
SHI ZHENGLI,
Director of the Wuhan Institute of Virology
Xiao Hong Shan No. 44
Wuhan, P.R. China 430071

by DHL with a signature required upon delivery

 

pursuant to the provisions of 28 U.S.C. § 1608(b)(3)(B).

GQ Deal, ase —
Clerk of the Court

JUN 19 2020

 

Date

 
 

Case 3:20-cv-00656-K-BN Document 25 Filed 06/29/20 Page2of5 PagelD 198

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

 

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al

 

 

AFFIDAVIT OF FOREIGN MAILING

 

I, the Clerk of the Court, mailed a copy of the summons, complaint and notice of suit
(with a translation of each into the official language of China) to the name and address of the
following Defendant:
THE PEOPLE’S LIBERATION ARMY
Ministry of Foreign Affairs of the People’s Republic of China
2 Chaoyangmen Nandajie
Chaoyang District,
Beijing, China 100701

by DHL with a signature required upon delivery

pursuant to the provisions of 28 U.S.C. § 1608(a)(3).

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Clerk of the Court 3

JUN 19 map

 

Date
 

Case 3:20-cv-00656-K-BN Document 25 Filed 06/29/20 Page 30f5 PagelD 199

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

 

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AFFIDAVIT OF FOREIGN MAILING

 

I, the Clerk of the Court, mailed a copy of the summons, complaint and notice of suit
(with a translation of each into the official language of China) to the name and address of the
following Defendant:
THE PEOPLE’S REPUBLIC OF CHINA
Ministry of Foreign Affairs of the People’s Republic of China
2 Chaoyangmen Nandajie
Chaoyang District,
Beijing, China 100701

by DHL with a signature required upon delivery

pursuant to the provisions of 28 U.S.C. § 1608(a)(3).

LZ. Ge pe Cera

‘Clerk of the Court’

JUN 1 9 2020

 

Date

 
Case 3:20-cv-00656-K-BN Document 25 Filed 06/29/20 Page4of5 PagelD 200

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

 

BUZZ PHOTOS, et. al

Vv. Civil Action No. 3:20-cv-00656-K

THE PEOPLE’S REPUBLIC OF CHINA, et.
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AFFIDAVIT OF FOREIGN MAILING

I, the Clerk of the Court, mailed a copy of the summons, complaint and notice of suit
(with a translation of each into the official language of China) to the name and address of the
following Defendant:
THE WUHAN INSTITUTE OF VIROLOGY
Xiao Hong Shan No. 44
Wuhan, P.R. China 430071
By DHL with a signature required upon delivery
pursuant to the provisions of 28 U.S.C. § 1608(b)(3)(B).

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jerk of the Court ~*

JUN 19 2026

 

 

Date

 
Case 3:20-cv-00656-K-BN Document 25 Filed 06/29/20 Page5of5 PagelD 201

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

 

BUZZ PHOTOS, et. al

Vv. Civil Action No. 3:20-cv-00656-K

THE PEOPLE’S REPUBLIC OF CHINA, et.
al

 

 

AFFIDAVIT OF FOREIGN MAILING

 

I, the Clerk of the Court, mailed a copy of the summons, complaint and notice of suit
(with a translation of each into the official language of China) to the name and address of the
following Defendant:
MAJOR GENERAL CHEN WEI
Ministry of Foreign Affairs of the People’s Republic of China
2 Chaoyangmen Nandajie
Chaoyang District,
Beijing, China 100701

by DHL with a signature required upon delivery

pursuant to the provisions of 28 U.S.C. § 1608(a)(3).

WA Dine clepud, Clk
Clerk of the Court

J 19 200

 

Date
